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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC            §
                                      §
        Plaintiff,                    §          Case No: 2:15-cv-01169-RWS-RSP
                                      §
  vs.                                 §          LEAD CASE
                                      §
  ADAMS EXTRACT                       §
                                      §
        Defendant.                    §
  ___________________________________ §
  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
.       Plaintiff,                    §          Case No: 2:15-cv-01171-JRG-RSP
                                      §
  vs.                                 §          CONSOLIDATED CASE
                                      §
  ALLSTATE INSURANCE COMPANY          §
                                      §
        Defendant.                    §
  ___________________________________ §

                                         ORDER

        On this day the Court considered the Unopposed Motion to Dismiss Allstate Insurance
Company.     It is therefore ORDERED that all claims by and between parties are hereby
DISMISSED WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’
fees.   SIGNED this 3rd day of January, 2012.
        SIGNED this 6th day of April, 2016.




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                                                ROY S. PAYNE
                                                UNITED STATES MAGISTRATE JUDGE
